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                                                            R                           A
                                                               C        N . 19-DCV-266022

Derrick and L. Pamela Walker V. Allstate Texas Lloyd's and Joshua Yuell §                                               Contract -
                                                                                                           Case Type:
Marr                                                                    §                                               Consumer/Commercial/Debt
                                                                        §                                   Date Filed: 08/28/2019
                                                                        §                                    Location: 458th District Court
                                                                        §


                                                                        P       I

                                                                                                                            Attorneys
Defendant or Allstate Texas Lloyd's                                                                                         Jay Scott Simon
Respondent                                                                                                                   Retained
              Dallas, TX 75201-3136
                                                                                                                            713-403-8210(W)


Defendant or Marr, Joshua Yuell
Respondent    Denison, TX 75020


Plaintiff or     Walker, Derrick                                                                                            Chad T Wilson
Petitioner                                                                                                                   Retained
                                                                                                                            832-415-1432(W)


Plaintiff or     Walker, L Pamela                                                                                           Chad T Wilson
Petitioner                                                                                                                   Retained
                                                                                                                            832-415-1432(W)


                                                                E           O               C

           OTHER EVENTS AND HEARINGS
08/28/2019 Petition      Doc ID# 1
             Plaintiffs Original Petition, Jury Demand, and Request for Disclosure
08/28/2019 Case Information Sheet
             Civil Case Information Sheet
08/28/2019 Request       Doc ID# 2
             Request for Process
08/28/2019 Letters
             Cover Letter
08/28/2019 Jury Fee Paid
             Jury Fee Paid
08/29/2019 Issuance        Doc ID# 3
             Citation Issued to Allstate Texas Lloyd's
08/29/2019 Citation
             e-Service
              Allstate Texas Lloyd's                                   Returned Unserved 09/05/2019
                                                                       Returned                 09/05/2019
08/29/2019 Issuance        Doc ID# 4
             Citation Issued to Joshua Yuell Marr
08/29/2019 Citation
             e-Service
              Marr, Joshua Yuell                                       Unserved
09/05/2019 Officers Return        Doc ID# 5
             Citation Return for Allstate Texas Lloyd's
09/30/2019 Answer/Contest/Response/Waiver            Doc ID# 6
             Defendant Allstate Texas Lloyd's Original Answer and Demand for Jury Trial
10/02/2019 Motion (No Fee)        Doc ID# 7
             Defendant Allstate Texas Lloyd's Election of Legal Responsibility Under Section 542A.006 of The Texas Insurance Code for Joshua Yuell Marr
10/02/2019 Proposed Order         Doc ID# 8
             Order of Dismissal of Defendant Joshua Yuell Marr With Prejudice


                                                                    F               I



               Plaintiff or Petitioner Walker, Derrick
               Total Financial Assessment                                                                                                          350.00
               Total Payments and Credits                                                                                                          350.00
               Balance Due as of 10/02/2019                                                                                                          0.00

08/28/2019 Transaction Assessment                                                                                                                   350.00
08/28/2019 E-filing                         Receipt # 2019-60779-DCLK                           Walker, Derrick                                   (350.00)




                                                                        EXHIBIT B
     Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 2 of 26                                      Filed
                                                                                                 8/28/2019 10:17 AM
                                                                                            Beverley McGrew Walker
                                                                                                        District Clerk
                                                                                            Fort Bend County, Texas
                                                                                               Salena Jasso

                          CAUSE NO.       19-DCV-266022

DERRICK AND L. PAMELA WALKER,                                  IN THE JUDICIAL COURT OF

       Plaintiffs,

V.                                                             FORT BEND COUNTY, TEXAS

ALLSTATE TEXAS LLOYD'S AND
JOSHUA YUELL MARR,                                  Fort Bend County - 458th Judicial District Court

       Defendants.                                                         DISTRICT COURT


                     PLAINTIFFS ORIGINAL PETITION, JURY DEMAND,
                            AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Derrick and L. Pamela Walker, ("Plaintiffs"), and files Plaintiffs'

Original Petition, Jury Demand, and Request for Disclosure, complaining of Allstate Texas

Lloyd's ("Allstate") and Joshua Yuell Man ("Man") (or collectively "Defendants") and for cause

of action. Plaintiffs respectfully shows the following:

                               DISCOVERY CONTROL PLAN

1.      Plaintiffs intends to conduct discovery under Level 3, Texas Rules of Civil Procedure

        190.4.

                                            PARTIES

2.       Plaintiffs, Derrick and L. Pamela Walker, reside in Fort Bend County, Texas.

3.      Defendant, Allstate Texas Lloyd's, is a Texas insurance company, engaged in the business

        of insurance in the State of Texas. Plaintiffs request service of citation upon Allstate,

        through its registered agent for service: C T Corporation System, 1999 Bryan Streets

        Suite 900, Dallas, Texas 75201-3136. Plaintiffs requests service at this time.
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4.      Defendant Joshua Yuell Marr is an individual resident of Denison, Texas. Man may be

        served with citation at the address listed with the Texas Department of Insurance: 811 W

        Shepherd Street, Denison, Texas 75020. Plaintiffs requests service at this time.

                                         JURISDICTION

5.      The Court has jurisdiction over Allstate because this Defendant engages in the business of

        insurance in the State of Texas, and the causes of action arise out of Allstate's business

        activities in the state, including those in Fort Bend County, Texas, with reference to this

        specific case.

6.      The Court has jurisdiction over Man because this Defendant engages in the business of

        adjusting insurance claims in the State of Texas, and the causes of action arise out of this

        Defendant's business activities in the State of Texas, including those in Fort Bend County,

        Texas, with reference to this specific case.

                                              VENUE

7.      Venue is proper in Fort Bend County, Texas because the insured property is located in Fort

        Bend County, Texas, and all or a substantial part of the events giving rise to this lawsuit

        occurred in Fort Bend County, Texas. TEX. CIV, PRAC. Sz. REM. CODE § 15.032.

                                              FACTS

8.      Plaintiffs asserts claims for breach of contract, common law bad faith, violations of sections

        541 and 542 of the Texas Insurance Code, and violations of the Texas DTPA.

9.      Plaintiffs owns an Allstate Texas Lloyd's insurance policy, number 000229147436 ("the

        Policy"). At all relevant times, Plaintiffs owned the insured premises located at 1727 .

        Mustang Crossing Missouri City, Texas 77459 ("the Property").


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10.   Allstate Texas Lloyd's or its agent sold the Policy, insuring the Property, to Plaintiffs.

      Allstate Texas Lloyd's represented to Plaintiffs that the Policy included hail and windstorm

      On or about May 26, 2018, the Property sustained extensive damage resulting from a severe

      storm that passed through the Missouri City/Fort Bend Texas area.

11.   In the aftermath of the hail and windstorm, Plaintiffs submitted a claim to Allstate against

      the Policy for damage to the Property. Allstate assigned claim number 0535578116 to

      Plaintiffs' claim.

12.   Plaintiffs asked Allstate to cover the cost of damage to the Property pursuant to the Policy.

13.   Allstate hired or assigned its agent, Mart, to inspect and adjust the claim. Mart conducted

      an inspection on or about May 7, 2019, according to the information contained in his

      estimate. Man's findings generated an estimate of damages totaling $889.98. After

      application of depreciation and $2,194.85 deductible, Plaintiffs were left without adequate

      funds to make repairs on the entirety of their claim.

14.   Allstate, through its agent, Man, conducted a substandard and improper inspection of the

      Property, which grossly undervalued the cost of repairs in its estimate and yielded an

      unrealistic amount to underpay coverage.

15.   Allstate and Mart have ultimately refused full coverage which includes, but is not limited

      to, replacement of the roof and additional exterior damage. Specifically, Mari- found

      minimal damage to Plaintiffs roof. The third-party inspector hired to review the damage to

      the Property found extensive and obvious windstorm and hail damage including, but not

      limited to, the roof, vents, flashings, windows, window screens, gutters, and downspouts.

      The storm compromised the integrity of the roof allowing water to enter, causing water


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      damage to the following areas of the interior: living room, master bedroom, master closet -

      and master bath.

16.   The damage to Plaintiffs Property is currently estimated at $24,853.92.

17.   Man had a vested interest in undervaluing the claims assigned to him by Allstate in order

      to maintain his employment. The disparity in the number of damaged items in his report

      compared to that of the third-party inspector's as well as the difference in valuation is

      evidence of unfair claims handling practices on the part of Marr.

18.   Furthermore, Marr was aware of Plaintiffs deductible prior to inspecting the Property.

      Man had advanced knowledge of the damages he needed to document in order to be able

      to deny the claim.

19.   Man misrepresented the actual amount of damage Plaintiffs' Property sustained in addition

      to how much it would cost to repair the damage. Man made these misrepresentations as a

      licensed Texas adjuster with the hope that Plaintiffs would rely on his expertise and accept

      the bad faith estimate as a true representation of the damages.

20.   After reviewing Plaintiffs Policy, Man misrepresented that the damage was caused by non-

      covered perils. Man used his expertise to fabricate plausible explanations for why visible

      damage to Plaintiffs Property would not be covered under the policy.

21.   As stated above, Allstate and Marr improperly and unreasonably adjusted Plaintiffs claim.

      Without limitation, Allstate and Man misrepresented the cause of, scope of, and cost to

      repair damages to Plaintiffs Property, as well as the amount of insurance coverage for

      Plaintiffs claim or loss under the Policy.

22.   Allstate and Man made these and other false representations to Plaintiffs, either knowingly
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      or recklessly, as a positive assertion, without knowledge of the truth. Allstate and Man

      made these false representations with the intent that Plaintiffs act in accordance with the

      misrepresentations regarding the grossly deficient damage and repair estimates prepared

      Man.

23.   Plaintiffs relied on Allstate and Man's misrepresentations, including but not limited to

      those regarding coverage, the cause of, scope of, and cost to repair the damage to Plaintiffs

      Property. Plaintiffs' damages are the result of Plaintiffs reliance on these

      misrepresentations.

24.   Upon receipt of the inspection and estimate reports from Marr, Allstate failed to assess the

      claim thoroughly. Based upon Man's grossly unreasonable, intentional, and reckless

      failure to investigate the claim properly prior to underpaying coverage, Allstate failed to

      provide coverage due under the Policy, and Plaintiffs suffered damages.

25.   Because Allstate and Man failed to provide coverage for Plaintiffs insurance claim,

      Plaintiffs have been unable to complete any substantive repairs to the Property. This has

      caused additional damage to Plaintiffs Property.

26.   Furthermore, Allstate and Man failed to perform their contractual duties to Plaintiffs under

      the terms of the Policy. Specifically, Man performed an unreasonable and substandard

      inspection that allowed Allstate to refuse to pay full proceeds due under the Policy,

      although due demand was made for an amount sufficient to cover the damaged Property,

      and all conditions precedent to recover upon the Policy were carried out by Plaintiffs.

27.   Allstate's and Man's misrepresentations, unreasonable delays, and continued denials

      constitute a breach of the statutory obligations under Chapters 541 and 542 of the Texas


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      Insurance Code. Thus, the breach of the statutory duties constitutes the foundation of a

      breach of the insurance contract between Defendant and Plaintiffs.

28.   Allstate's and Man's conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a) (1). Allstate and Man have failed to

      settle Plaintiffs claim in a fair manner, although they were aware of their liability to

      Plaintiffs under the Policy. Specifically, Allstate and Man have failed to, in an honest and

      fair manner, balance their own interests in maximizing gains and limiting disbursements,

      with the interests of Plaintiffs by failing to timely pay Plaintiffs coverage due under the

      Policy.

29.   Allstate's and Man's conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a) (2) (A). Allstate and Man failed to

      provide Plaintiffs a reasonable explanation for underpayment of the claim.

30.   Additionally, after Allstate received statutory demand on or about June 26, 2019, Allstate

      has not communicated that any future settlements or payments would be forthcoming to

      pay for the entire loss covered under the Policy, nor did it provide any explanation for

      failing to settle Plaintiffs claim properly.

31.   Allstate and Man's conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a) (4). Man- performed a biased and

      intentionally substandard inspection designed to allow Allstate to refuse to provide full

      coverage to Plaintiffs under the Policy.

32.   Specifically, Allstate and Man performed an outcome-oriented investigation of Plaintiffs'

      claims, which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs losses on


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      the Property.

33.   Allstate's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of

      Claims. TEX. INS. CODE §542.055. Due to Man subpar inspection, Allstate failed to

      reasonably accept or deny Plaintiffs full and entire claim within the statutorily mandated

      time after receiving all necessary information.

34.   Allstate's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of

      Claims. TEX. INS. CODE §542.056. Due to Mares intentional undervaluation of

      Plaintiffs' claims, Allstate failed to meet its obligations under the Texas Insurance Code

      regarding timely payment of the claim. Specifically, Man's understatement of the damage

      to the Property caused Allstate to delay full payment of Plaintiffs claim longer than

      allowed, and Plaintiffs have not received rightful payment for Plaintiffs claim.

35.   Allstate and Marr's wrongful acts and omissions have forced Plaintiffs to retain the

      professional services of the attorneys and law firm representing him with respect to these

      causes of action.

                      CAUSES OF ACTION AGAINST DEFENDANT
                            ALLSTATE TEXAS LLOYD'S

36.   All paragraphs from the fact section of this petition are hereby incorporated into this

      section.

                                 BREACH OF CONTRACT

37.   Allstate is liable to Plaintiffs for intentional violations of the Texas Insurance Code, and

      intentional breach of the common law duty of good faith and fair dealing. It follows, then,

      that the breach of the statutory duties constitutes the foundation of an intentional breach of

      the insurance contract between Allstate and Plaintiffs.

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38.   Allstate's failure and/or refusal to pay adequate coverage as obligated under the Policy,

      and under the laws of the State of Texas, constitutes a breach of Allstate's insurance

      contract with Plaintiffs.

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

39.   Allstate's conduct constitutes multiple violations of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article are

      actionable by TEX. INS. CODE §541.151.

40.   Allstate's unfair settlement practice of misrepresenting to Plaintiffs material facts relating

      to coverage constitutes an unfair method of competition and a deceptive act or practice in

      the business of insurance. TEX. INS. CODE §541.060(a) (1).

41.   Allstate's unfair settlement practice of failing to attempt in good faith to make a prompt,

      fair, and equitable settlement of the claim, even though Allstate's liability under the Policy

      was reasonably clear, constitutes an unfair method of competition and a deceptive act or

      practice in the business of insurance. TEX. INS. CODE §541.060(a) (2) (A).

42.   Allstate's unfair settlement practice of failing to provide Plaintiffs a prompt and reasonable

      explanation of the basis in the Policy, in relation to the facts or applicable law, for

      underpayment and denial of the claim, constitutes an unfair method of competition and a

      deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a) (3).

43.   Allstate's unfair settlement practice of refusing to pay Plaintiffs full claim without

      conducting a reasonable investigation constitutes an unfair method of competition and a

      deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a) (7).



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            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   THE PROMPT PAYMENT OF CLAIMS

44.   Allstate's conduct constitutes multiple violations of the Texas Insurance Code, Prompt

      Payment of Claims. All violations made under this article are actionable under TEX. INS.

      CODE §542.060.

45.   Allstate's delay in paying Plaintiffs claim following receipt of all items, statements, and

      forms reasonably requested and required, for longer than the amount of time provided,

      constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

           BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

46.   Allstate's conduct constitutes a breach of the common law duty of good faith and fair

      dealing owed to an insured in insurance contracts.

47.   Allstate's failure to adequately and reasonably investigate and evaluate Plaintiffs claim,

      even though Allstate knew or should have known by the exercise of reasonable diligence

      that liability was reasonably clear, constitutes a breach of the duty of good faith and fair

      dealing.

                                    DTPA VIOLATIONS

48.   Allstate's conduct constitutes multiple violations of the Texas Deceptive Trade Practices

      Act ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiffs are each a consumer of

      goods and services provided by Allstate pursuant to the DTPA. Plaintiffs have met all

      conditions precedent to bring this cause of action against Allstate. Specifically, Allstate's

      violations of the DTPA include, without limitation, the following matters:

      A.     By its acts, omissions, failures, and conduct, Allstate has violated sections

             17.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. Allstate's violations

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         include, (1) unreasonable delays in the investigation, adjustment, and resolution of

         Plaintiffs claim, (2) failure to give Plaintiffs the benefit of the doubt, and (3) failure

         to pay for the proper repair of Plaintiffs' property when liability has become

         reasonably clear, which gives Plaintiffs the right to recover under section

          17.46(b)(2).

    B.   Allstate represented to Plaintiffs that the Policy and Allstate's adjusting agent and

         investigative services had characteristics or benefits they did not possess, which

         gives Plaintiffs the right to recover under section 17.46(b)(5) of the DTPA.

    C.   Allstate represented to Plaintiffs that Allstate's Policy and adjusting services were

         of a particular standard, quality, or grade when they were of another, in violation

         of section 17.46(b)(7) of the DTPA.

    D.   Allstate advertised the Policy and adjusting services with the intent not to sell them

         as advertised, in violation of section 17.46(b)(9) of the DTPA.

    E.   Allstate breached an express warranty that the damages caused by wind and hail

         would be covered under the Policy. This breach entitles Plaintiffs to recover under

         sections 17.46(b) (12) and (20) and 17.50(a) (2) of the DTPA.

    F.   Allstate's actions are unconscionable in that Allstate took advantage of Plaintiffs

         lack of knowledge, ability, and experience to a grossly unfair degree. Allstate's

         unconscionable conduct gives Plaintiffs a right to relief under section 17.50(a) (3)

         of the DTPA; and




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      G.      Allstate's conduct, acts, omissions, and failures, as described in this petition, are

              unfair practices in the business of insurance in violation of section 17.50(a)(4) of

              the DTPA.

49.   Each of the above-described acts, omissions, and failures of Allstate is a producing cause

      of Plaintiffs' damages. All of Allstate's acts, omissions, and failures were committed

      "knowingly" and "intentionally," as defined by the Texas Deceptive Trade Practices Act.

      CAUSES OF ACTION AGAINST DEFENDANT JOSHUA YUELL MARR

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

50.   All allegations above are incorporated herein.

51.   Mares conduct constitutes multiple violations of the Texas Insurance Code, Unfair Claim

      Settlement Practices Act. TEX. [NS. CODE §541.060(a).

52.   MaiT is individually liable for his unfair and deceptive acts, irrespective of the fact that he

      was acting on behalf of Allstate, because Man is a "person," as defined by TEX. INS.

      CODE §541.002(2).

53.   Man knowingly underestimated the amount of damage to the Property. As such, Man

      failed to adopt and implement reasonable standards for the investigation of the claim

      arising under the Policy. TEX. INS. CODE §542.003(3).

54.   Furthermore, Man did not attempt in good faith to affect a fair, prompt, and equitable

      settlement of the claim. TEX. INS. CODE §542.003(4).

55.   Mares unfair settlement practice of failing to provide Plaintiffs a prompt and reasonable

      explanation of the basis in the Policy, in relation to the facts or applicable law, for partial



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      denial of the claim, also constitutes an unfair method of competition and an unfair and

      deceptive act or practice. TEX. INS. CODE §541.060(a)(3).

56.   Man's unfair settlement practice of failing to attempt in good faith to make a prompt, fair,

      and equitable settlement of the claim, even though liability under the Policy was reasonably

      clear, constitutes an unfair method of competition and a deceptive act or practice in the

      business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

                                    DTPA VIOLATIONS

57.   All allegations above are incorporated herein.

58.   Mares conduct constitutes multiple violations of the Texas Deceptive Trade Practices Act

      ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiffs are consumers of goods and

      services provided by Man pursuant to the DTPA. Plaintiffs have met all conditions

      precedent to bringing this cause of action against Man. Specifically, Marr's violations of

      the DTPA include the following matters:

      A.     By this Defendant's acts, omissions, failures, and conduct, Marr has violated

             sections 17.46(b)(2), (5), and (7) of the DTPA. Man's violations include, (1)

             failure to give Plaintiffs the benefit of the doubt, and (2) failure to write up an

             estimate reflecting the proper repair of Plaintiffs' Property when liability has

             become reasonably clear, which gives Plaintiffs the right to recover under section

             17.46(b)(2).

      B.     Man represented to Plaintiffs that the Policy and his adjusting and investigative

             services had characteristics or benefits they did not possess, which gives Plaintiffs

             the right to recover under section 17.46(b)(5) of the DTPA.


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      C.      Marr represented to Plaintiffs that the Policy and his adjusting services were of a

              particular standard, quality, or grade when they were of another, in violation of

              section 17.46(b)(7) of the DTPA.

      D.      Marr's actions are unconscionable in that Man took advantage of Plaintiffs lack of

              knowledge, ability, and experience to a grossly unfair degree.                 Man's

              unconscionable conduct gives Plaintiffs a right to relief under section 17.50(a)(3)

              of the DTPA; and

      E.      Man's conduct, acts, omissions, and failures, as described in this petition, are unfair

              practices in the business of insurance in violation of section 17.50(a)(4) of the

              DTPA.

59.   Each of Man's above-described acts, omissions, and failures is a producing cause of

      Plaintiffs' damages. All acts, omissions, and failures were committed "knowingly" and

      "intentionally" by Mart, as defined by the Texas Deceptive Trade Practices Act. TEX.

      BUS. & COM. CODE 17.45.

                                        KNOWLEDGE

60.   Defendant made each of the acts described above, together and singularly, "knowingly,"

      as defined in the Texas Insurance Code, and each was a producing cause of Plaintiffs'

      damages described herein.

                                 WAIVER AND ESTOPPEL

61.   Defendants waived and are estopped from asserting any coverage defenses, conditions,

      exclusions, or exceptions to coverage not contained in any reservation of rights letter to

      Plaintiffs.


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                                          DAMAGES

62.   The damages caused to the Property have not been properly addressed or repaired since the

      claim was made, causing further damage to the Property, and undue hardship and burden

      to Plaintiffs. These damages are a direct result of Defendants mishandling of Plaintiffs'

      claims in violation of the laws set forth above.

63.   Plaintiffs currently estimate that actual damages to the Property under the Policy are

      $24,853.92.

64.   Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained. The above described acts,

      omissions, failures, and conduct of Defendants have caused Plaintiffs damages, which

      include, without limitation, the cost to properly repair Plaintiffs Property and any

      investigative and engineering fees incurred.

65.   For breach of contract, Plaintiffs are entitled to regain the benefit of his bargain, which is

      the amount of his claims, consequential damages, together with attorney's fees.

66.   For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement Practices,

      Plaintiffs are entitled to actual damages, which include the loss of benefits owed pursuant

      to the Policy, mental anguish, court costs, and attorney's fees. For knowing and intentional

      conduct of the acts described above, Plaintiffs ask for three (3) times his actual damages.

      TEX. INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(b) (1).

67.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

      entitled to the amount of his claims, plus an eighteen percent (10%) per annum penalty on




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      those claims, as damages, as well as pre-judgment interest and reasonable attorney's fees.

      TEX. INS. CODE §542.060.

68.   For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to

      compensatory damages, including all forms of loss resulting from Defendant's breach of

      duty, such as additional costs, economic hardship, losses due to the nonpayment of the

      amount Allstate owed, exemplary damages, and damages for emotional distress.

69.   Defendant's breach of the common law duty of good faith and fair dealing was committed

      intentionally, with a conscious indifference to Plaintiffs rights and welfare, and with

      "malice," as that term is defined in Chapter 41 of the Texas Civil Practices and Remedies

      Code. These violations are the type of conduct which the State of Texas protects its citizens

      against by the imposition of exemplary damages. Therefore, Plaintiffs seeks the recovery

      of exemplary damages in an amount determined by the finder of fact sufficient to punish

      Defendants for their wrongful conduct, and to set an example to deter Defendants and

      others from committing similar acts in the future.

70.   For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

      the services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of

      the Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance

      Code, and section 17.50 of the DTPA, Plaintiffs are entitled to recover a sum for the

      reasonable and necessary services of Plaintiffs' attorneys in the preparation and trial of this

      action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

71.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs' counsel states

      that the damages sought are in an amount within the jurisdictional limits of this Court. As


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        required by Rule 47(c)(4) of the Texas Rules of Civil Procedure, Plaintiffs' counsel states

        that Plaintiffs seeks only monetary relief of no less than $100,000.00, but no more than

        $200,000.00 including damages of any kind, penalties, costs, expenses, pre-judgment

        interest, and attorney fees. A jury will ultimately determine the monetary relief actually

        awarded, however. Plaintiffs also seeks pre-judgment and post-judgment interest at the

        highest legal rate.

                                 REQUESTS FOR DISCLOSURE

72.     Under Texas Rules of Civil Procedure 190 and 194, Plaintiffs requests that Defendants

        disclose, within fifty (50) days from the date this request is served, the information or material

        described in Rules 190.2(b)(6) and 194.2.

                                          JURY DEMAND

73.     Plaintiffs hereby requests a jury trial for all causes of action alleged herein, tried before a

        jury consisting of citizens residing in Fort Bend County, Texas. Plaintiffs hereby tenders

        the appropriate jury fee.

                                               PRAYER

        Plaintiffs prays that Defendants, Allstate Texas Lloyd's and Joshua Yuell Marr, be cited

and served to appear, and that upon trial hereof„ recovers from Defendant, Allstate Texas Lloyd's

and Joshua Yuell Marr such sums as would reasonably and justly compensate Plaintiffs in

accordance with the rules of law and procedure, as to actual, consequential, and treble damages

under the Texas Insurance Code and Texas Deceptive Trade Practices Act, and all punitive,

additional, and exemplary damages as may be found. In addition, Plaintiffs requests the award of

attorney's fees for the trial and any appeal of this case, for all costs of Court expended on Plaintiffs


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behalf, for pre-judgment and post-judgment interest as allowed by law, and for any other relief, at

law or in equity, to which Plaintiffs may show itself justly entitled.

                                                              Respectfully submitted,

                                                      CHAD T. WILSON LAW FIRM PLLC

                                                              By: Is! Chad T Wilson

                                                              Chad T. Wilson
                                                              Bar No. 24079587
                                                              Tara L. Peveto
                                                              Bar No. 24076621
                                                              455 E Medical Center Blvd, Ste 555
                                                              Webster, Texas 77598
                                                              Telephone: (832) 415-1432
                                                              Facsimile: (281) 940-2137
                                                              eService to:
                                                              eservice@ewilsonlaw.com
                                                              cwilson@cwilsonlaw.com
                                                              tpeveto@cwilsonlaw.com

                                                              ATTORNEYS FOR PLAINTIFFS




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  Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 19 of 26                                                                                                                                                                                              9/5/2019 12:40 PM
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                                                                                                                                                                                                                                                                             District Clerk
                                                                                                                                                                                                                                                                 Fort Bend County, Texas
SERVICE FEE NOT COLLECTED                                                                                                                                                                                                                                           Ashley Alaniz

    BY DISTRICT CLERK
                                                                                               THE STATE OF TEXAS

                                                                                                                        CITATION

TO:      ALLSTATE TEXAS LLOYD'S
         C T CORPORATION SYSTEM
         1999 BRYAN STREET SUITE 900
         DALLAS TX 75201-3136

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty
days after you were served this citation ~nd ebAINTIFFS ;()RIGINAL PETITION, JURY DEMAND, AND
REQUEST FOR DISCLOSURE fi.I~91n August28,'~019,l-d~!~ult)udgment may be taken against you.
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The name and  addre~~
           v~\,t'  ''''''Dr''
                              of th;e attorney        ;for PLAINTIFF is:
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WEBSTER 'TX 77598/
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     Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 20 of 26




19-DCV-266022                                         458th Judicial District Court
Derrick and L. Pamela Walker V. Allstate Texas Lloyd's and Joshua Yuell Marr

                                           OFFICER'S OR AUTHORIZED PERSON'S RETURN

           Came to hand on the                                  -~                   day of     SQ~ fe_m~r                              , 201<:;   at   _1_1_ o'clock A   M.
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with the accompanying copy of the petition, having first attached such copy of such petition to such copy
of citation and endorsed on such copy of citation                                              t~~   gat!:), 9t2~,livery.
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Citation (Original Petition) issued to Allstate Texas Lloyd's on 8/29/2019.
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    Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 21 of 26                       9/30/2019 12:00 AM
                                                                                             Beverley McGrew Walker
                                                                                                         District Clerk
                                                                                             Fort Bend County, Texas
                                                                                                Ashley Alaniz

                                 CAUSE NO. 19-DCV-266022

DERRICK AND L. PAMELA WALKER, §                                     IN THE DISTRICT COURT
                              §
     Plaintiffs,              §
                              §
v.                            §                                FORT BEND COUNTY, TEXAS
                              §
ALLSTATE TEXAS LLOYD’S AND    §
JOSHUA YUELL MARR,            §
                              §
     Defendants.              §                                   458TH JUDICIAL DISTRICT


        DEFENDANT ALLSTATE TEXAS LLOYD’S ORIGINAL ANSWER AND
                       DEMAND FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Defendant, Allstate Texas Lloyd’s (“Defendant”), and files this its

Original Answer to Plaintiffs’ Original Petition, and would respectfully show unto the Court the

following

                                            I.
                                     ORIGINAL ANSWER

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies,

each and every, all and singular, the allegations contained within Plaintiffs’ Original Petition and

demands strict proof thereon, by a preponderance of the credible evidence, in accordance with the

Constitution and laws of the State of Texas.

                                          II.
                                 DEMAND FOR JURY TRIAL

        Defendant herein makes demand for a jury trial in this case.




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                                             III.
                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd’s prays that

upon final trial and hearing thereof, Plaintiff recover nothing from Defendant and Defendant goes

hence without delay and recovers costs of court and other such further relief, both general and

special, to which Defendant may be justly entitled.

                                             Respectfully submitted,

                                             By:      /s/Jay Scott Simon
                                                    Jay Scott Simon
                                                    State Bar No. 24008040
                                                    jsimon@thompsoncoe.com
                                                    THOMPSON, COE, COUSINS & IRONS, LLP
                                                    One Riverway, Suite 1400
                                                    Houston, Texas 77056
                                                    Telephone: (713) 403-8210
                                                    Facsimile: (713) 403-8299

                                             ATTORNEY FOR DEFENDANT
                                             ALLSTATE TEXAS LLOYD’S


                                CERTIFICATE OF SERVICE

       This is to certify that on September 27, 2019, a true and correct copy of the foregoing was
served upon the following counsel of record in accordance with the Texas Rules of Civil
Procedure:

        Chad T. Wilson
        Tara L. Peveto
        CHAD T. WILSON LAW FIRM, PLLC
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        eservice@cwilsonlaw.com
        cwilson@cwilsonlaw.com
        tpeveto@cwilsonlaw.com

                                                        /s/Jay Scott Simon
                                                      Jay Scott Simon



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    Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 23 of 26                         10/2/2019 10:51 AM
                                                                                               Beverley McGrew Walker
                                                                                                           District Clerk
                                                                                               Fort Bend County, Texas
                                                                                                  Ashley Alaniz

                                  CAUSE NO. 19-DCV-266022

DERRICK AND L. PAMELA WALKER, §                                      IN THE DISTRICT COURT
                              §
     Plaintiffs,              §
                              §
v.                            §                                 FORT BEND COUNTY, TEXAS
                              §
ALLSTATE TEXAS LLOYD’S AND    §
JOSHUA YUELL MARR,            §
                              §
     Defendants.              §                                    458TH JUDICIAL DISTRICT

                  DEFENDANT ALLSTATE TEXAS LLOYD’S
       ELECTION OF LEGAL RESPONSIBILITY UNDER SECTION 542A.006 OF
           THE TEXAS INSURANCE CODE FOR JOSHUA YUELL MARR

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Allstate Texas Lloyd’s (“Allstate”) and files its Election of

Legal Responsibility Under Section 542A.006 of the Texas Insurance Code (“Election”) as

follows:

                                I. RELEVANT BACKGROUND

        On August 28, 2019, Plaintiffs filed this action relating to events in claim number

0535578116, naming as defendants Allstate Texas Lloyd’s and Joshua Yuell Marr.

        For purposes of this Election, Joshua Yuell Marr (“Marr”) is considered Allstate’s “agent”

under Texas Insurance Code Section 542.A.001, which defines the term “agent” as an employee,

agent, representative, or adjuster who performs any act on Allstate’s behalf.

                                          II. ELECTION

        Under Section 542A.006(a) of the Texas Insurance Code, Allstate hereby elects to accept

legal responsibility for whatever liability Marr might have to Plaintiffs for Marr’s acts or omissions

related to the allegations set forth in this lawsuit, and, by this pleading, Plaintiffs are provided

written notice of Allstate’s Election.

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    Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 24 of 26



            III. DISMISSAL OF JOSHUA YUELL MARR WITH PREJUDICE

        Under Section 542A.006(c) of the Texas Insurance Code, and based on Allstate’s Election,

this Court “shall dismiss” this action against Marr with prejudice. Allstate hereby requests the

Court enter all such documents necessary to effectuate this dismissal with prejudice.

        FOR THESE REASONS, Allstate prays that this Election be filed with the records in this

lawsuit and that Joshua Yuell Marr be dismissed from this action with prejudice as mandated under

Chapter 542A of the Texas Insurance Code, and for all other and further relief to which this Court

deems Allstate entitled.

                                             Respectfully submitted,

                                             By:      /s/Jay Scott Simon
                                                    Jay Scott Simon
                                                    State Bar No. 24008040
                                                    jsimon@thompsoncoe.com
                                                    THOMPSON, COE, COUSINS & IRONS, LLP
                                                    One Riverway, Suite 1400
                                                    Houston, Texas 77056
                                                    Telephone: (713) 403-8210
                                                    Facsimile: (713) 403-8299

                                             ATTORNEY FOR DEFENDANT
                                             ALLSTATE TEXAS LLOYD’S




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    Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 25 of 26



                                CERTIFICATE OF SERVICE

       This is to certify that on October 2, 2019, a true and correct copy of the foregoing was
served upon the following counsel of record in accordance with the Texas Rules of Civil
Procedure:

        Chad T. Wilson
        Tara L. Peveto
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        cwilson@cwilsonlaw.com
        tpeveto@cwilsonlaw.com

                                                      /s/Jay Scott Simon
                                                    Jay Scott Simon




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             Case 4:19-cv-03796 Document 1-2 Filed on 10/02/19 in TXSD Page 26 of 26                    10/2/2019 10:51 AM
                                                                                                   Beverley McGrew Walker
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                                                                                                   Fort Bend County, Texas
                                                                                                      Ashley Alaniz

                                          CAUSE NO. 19-DCV-266022

         DERRICK AND L. PAMELA WALKER, §                                   IN THE DISTRICT COURT
                                       §
              Plaintiffs,              §
                                       §
         v.                            §                              FORT BEND COUNTY, TEXAS
                                       §
         ALLSTATE TEXAS LLOYD’S AND    §
         JOSHUA YUELL MARR,            §
                                       §
              Defendants.              §                                 458TH JUDICIAL DISTRICT

                     ORDER OF DISMISSAL OF DEFENDANT JOSHUA YUELL MARR
                                       WITH PREJUDICE

                 On this day came before the Court the Election of Legal Responsibility Under Section

         542A.006 of the Texas Insurance Code filed by Defendant Allstate Texas Lloyd’s (“Allstate”).

         Allstate has elected to accept legal responsibility in the manner required under 542A.006 of the

         Texas Insurance Code on behalf of Defendant Joshua Yuell Marr (“Marr”).

                 It is therefore ORDERED, ADJUDGED AND DECREED that all claims and causes of

         action brought against Marr in the above-referenced cause are hereby DISMISSED with prejudice

         to refiling of same. Any and all relief sought against Marr not contained herein is hereby DENIED

         with prejudice.

                 It is further ORDERED that costs of court herein and relating to any claim or cause of

         action brought against Marr shall be borne by the party incurring same.




         DATE                                                JUDGE PRESIDING




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ROUTED TO COURT 10-02-19 AA
RT'D TO D. CLERK
